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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

CASE NO. 08-80736-CIV-MARRA/JOHNSON FH_ED by _L/§_ D_c'
IN RE: JANE DOE,
JUL 09 2008
Petitioner.

 

 

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UNITED STATES’ MOTION TO FILE RESPONSE TO VICTIM’S EMERGENCY
PETITION FOR ENFORCEl\/IENT OF VICTIl\/~I RIGHTS ACT
AND DECLARATION OF A. MARIE VILLAFANA UNDER SEAL

The United States ofAmerica, by and through its undersigned counsel, files its l\/Iotion to File
Response to Victim’S Emergency Petition for Enforcement of Victim Rights Act and Declaration
of A. Marie Villafaha Under Seal, pursuant to S.D. Fla. L.R. 5.4 and 18 U.S.C. § 3509(d)(2), and
states:

()n July 7, 2008, petitioner filed her Emergency Victim’s Petition for Enforcement of Crime
Victim Rights Act, 18 U.S.C. § 3771. Petitioner did not disclose her name, and alleges that she was
a minor child when she was the victim of federal crimes committed by Jeffrey Epstein. Petition, ‘l l.

On July 7, 2008, the Court directed the Government to file a response to the Petition by July
9, 2008, at 5:()0 p.m.

The Govemment has prepared its Response, which is attached as Exhibit A, and 1;he
Declaration of Assistant United States Attorney A. Marie Villafafta, as well as correspondence with
several individuals who were minors when the relevant events occurred. Additionally, ‘:he

Government’s Response also refers to actions taken by the United States Attorney’s Ofi`ice with an

interested party which was done in confidence The Government believes that its Response should

 

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be filed under seal, in order to protect the minor victims’ privacy, as well as to maintain the
confidentiality of the agreement reached with an interested party.

The Government requests that its Response and the Declaration be sealed until the
termination of` the instant litigation, or five years from the date of filing, whichever occurs first.
Upon the expiration of the time period for sealing, the Government requests the documents be
returned to the United States Attorney’s Office.

WHEREFORE, the government respectfully requests that its Response to Victim’s
Emergency Petition for Enforcement of Crime Victim Rights Act, 18 U.S.C. § 3771, and the
Declaration of A. Marie Villafaria be filed under seal.

Respectfully submitted,

R. ALEXANDER ACOSTA
UNITED STATES ATTORNEY

wMX/@/MHV

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via facsimile
transmission and U.S. Mail, this%_ day ofJuly, 2008, to: Brad Edwards, Esq., The LaW Offices
ofBrad Edwards & Associates, LLC, (954) 924~1530, 2028 Harrison Street, Suite 202, Hollywood,

Florida 33020.

 

Assistant U.S. Attorney

